             Case 3:14-cv-00737-MPS Document 1 Filed 05/22/14 Page 1 of 13



 1                       UNITED STATES DISTRICT COURT
 2
                       FOR THE DISTRICT OF CONNECTICUT

 3   CAROL L. OLIWA,                        )
                                            )
 4
                  Plaintiff,                )
 5                                          )
           v.                               )   Case No.:
 6
                                            )
 7   UNITED RECOVERY SYSTEMS,               )   COMPLAINT AND DEMAND FOR
                                            )   JURY TRIAL
 8                  Defendant.              )
 9
                                            )   (Unlawful Debt Collection Practices)

10                                    COMPLAINT
11
           CAROL L. OLIWA (“Plaintiff”), by and through her attorneys, ANGELA
12
     K. TROCCOLI, ESQUIRE AND KIMMEL & SILVERMAN, P.C., allege the
13

14   following against UNITED RECOVERY SYSTEMS (“Defendant” or “URS”):
15
                                    INTRODUCTION
16
           1.     Plaintiff’s Complaint is based on the Fair Debt Collection Practices
17

18
     Act, 15 U.S.C. § 1692 et seq. (“FDCPA”).

19                             JURISDICTION AND VENUE
20
           2.     Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d),
21
     which states that such actions may be brought and heard before “any appropriate
22

23
     United States district court without regard to the amount in controversy,” and 28

24   U.S.C. § 1331 grants this court original jurisdiction of all civil actions arising
25
     under the laws of the United States.

                                            -1-

                                   PLAINTIFF’S COMPLAINT
                Case 3:14-cv-00737-MPS Document 1 Filed 05/22/14 Page 2 of 13



 1          3.      Defendant conducts business in the State of Connecticut; therefore,
 2
     personal jurisdiction is established.
 3
            4.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
 4

 5                                           PARTIES
 6
            5.      Plaintiff is a natural person residing in Ellington, Connecticut 06029.
 7
           6.       Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §
 8

 9
     1692a(3).

10          7.      Defendant is a debt collection company with its headquarters located
11
     at 5800 North Course Drive, Houston, Texas, 77072.
12
            8.      Defendant collects, and attempts to collect, consumer debts incurred,
13

14   or alleged to have been incurred, for personal, family or household purposes on

15   behalf of creditors and debt buyers using the U.S. Mail, the telephone and/or
16
     internet.
17
            9.      Defendant is a “debt collector” as that term is defined by 15 U.S.C.
18

19   §1692a(6), and sought to collect a debt from Plaintiff.

20          10.     Defendant acted through its agents, employees, officers, members,
21
     directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
22
     representatives, and insurers.
23

24

25



                                               -2-

                                      PLAINTIFF’S COMPLAINT
               Case 3:14-cv-00737-MPS Document 1 Filed 05/22/14 Page 3 of 13



 1                             FACTUAL ALLEGATIONS
 2
           11.     At all relevant times, Defendant was attempting to collect an alleged
 3
     consumer debt regarding a Target/Visa credit card.
 4

 5         12.     The alleged debt, personal purchases made on the Target/Visa credit
 6
     card, arose out of transactions, which were primarily for personal, family, or
 7
     household purposes.
 8

 9
           13.     As Plaintiff has no business debt, the debt could only be personal in

10   nature.
11
           14.     Beginning in June 2013, and continuing through August 23, 2013,
12
     Defendant continuously and repetitively contacted Plaintiff on her home, cellular
13

14   and work telephones seeking to collect this alleged debt.

15         15.     During the relevant period, Defendant called Plaintiff, on average, at
16
     least once a day.
17
           16.     Plaintiff received more than ten (10) collection calls a week from
18

19   Defendant on her home and cellular telephones.

20         17.     On multiple occasions, Plaintiff answered Defendant’s calls and
21
     disputed owing the alleged debt, explaining that in January 2009, the balance on
22
     account had been transferred to a Navy Federal Credit Union credit account.
23

24         18.     In fact, Plaintiff sent written correspondence to Defendant disputing
25
     the debt, providing proof that the balance on the account had been transferred to a

                                              -3-

                                    PLAINTIFF’S COMPLAINT
              Case 3:14-cv-00737-MPS Document 1 Filed 05/22/14 Page 4 of 13



 1   Navy Federal Credit Union account, and demanding verification of the debt,
 2
     particularly for any charges on the account after January 2009.
 3
            19.   Defendant, however, failed to update its records to stop the calls to
 4

 5   Plaintiff.
 6
            20.   Further, upon information and belief, Defendant did not investigate
 7
     Plaintiff’s dispute of the debt, including contacting the creditor regarding
 8

 9
     Plaintiff’s documentation showing a balance transfer in January 2009.

10          21.   Also, Defendant did not send validation of the alleged debt to
11
     Plaintiff.
12
            22.   Rather, Defendant persisted in its efforts to collect the disputed debt,
13

14   including reporting the debt to the credit bureaus.

15          23.   Upon information and belief, at the time Defendant reported the debt
16
     to the credit reporting bureaus, and at no time thereafter, did Defendant notify the
17
     credit reporting bureaus that this was a disputed debt.
18

19          24.   Further, when contacting Plaintiff, Defendant would call her at times

20   and places where it was inconvenient for her to receive collection calls,
21
     specifically Defendant would call Plaintiff on her work & cellular telephone while
22
     she was at work.
23

24          25.   Plaintiff’s employer prohibits its employees from receiving personal
25
     calls at work.

                                              -4-

                                    PLAINTIFF’S COMPLAINT
               Case 3:14-cv-00737-MPS Document 1 Filed 05/22/14 Page 5 of 13



 1            26.   On more than one occasion, Plaintiff informed Defendant that she
 2
     was not allowed to receive personal calls at work; however, Defendant failed to
 3
     update its records to stop the calls to Plaintiff’s cellular telephone during her work
 4

 5   hours.
 6
              27.   Instead, Defendant persisted in calling Plaintiff on her cellular
 7
     telephone while she was at work, causing Plaintiff to be reprimanded for the
 8

 9
     personal calls by her employer.

10            28.   Further, Plaintiff has answered Defendant’s calls and hung up,
11
     signaling to Defendant that its calls were unwanted, only to be immediately called
12
     back by Defendant.
13

14            29.   In addition, in its conversations with Plaintiff, Defendant falsely

15   claimed that Plaintiff was “liable for this debt” and that it would “attach [her]
16
     wages” and take “money out of [her] checking account” to satisfy the debt.
17
              30.   Upon information and belief, at the time Defendant threatened to
18

19   attach Plaintiff’s wages and take money out of her checking account, it did not

20   intend to take the action threatened and legally could not take the threatened
21
     action, as Plaintiff did not owe a debt.
22
              31.   Lastly, in its attempts to collect a debt, Defendant called two of
23

24   Plaintiff’s neighbors and requested that they ask Plaintiff to contact them
25



                                                -5-

                                    PLAINTIFF’S COMPLAINT
             Case 3:14-cv-00737-MPS Document 1 Filed 05/22/14 Page 6 of 13



 1   (Defendant), providing a contact number and disclosing that they were calling to
 2
     collect a debt.
 3
           32.    At no time did Plaintiff give consent to Defendant to disclose debt
 4

 5   information to third parties, including her neighbors.
 6
           33.    It was embarrassing to Plaintiff to have her neighbors be informed
 7
     that she owed a debt, as she does not know these neighbors and she disputes
 8

 9
     owing any debt.

10         34.    Defendant took the unconscionable actions described above with the
11
     intent to harass and deceive Plaintiff into paying the alleged debt.
12

13

14           DEFENDANT VIOLATED THE FAIR DEBT COLLECTION
                           PRACTICES ACT
15
                                          COUNT I
16

17         35.     Defendant’s conduct, as detailed in the preceding paragraphs,
18
     violated 15 U.S.C. §§ 1692c(a)(1), 1692c(a)(3), and 1692c(b).
19
                  a.     A debt collector violates §1692c(a)(1) of the FDCPA by
20

21
                         communicating with a consumer in connection with the

22                       collection of any debt at any unusual time or place or a time or
23
                         place known or which should be known to be inconvenient to
24
                         the consumer. In absence of knowledge of circumstances to
25

                         the contrary, a debt collector shall assume that the convenient
                                              -6-

                                    PLAINTIFF’S COMPLAINT
     Case 3:14-cv-00737-MPS Document 1 Filed 05/22/14 Page 7 of 13



 1             time for communicating with a consumer is after 8:00 a.m. and
 2
               before 9:00 p.m., local time at the consumer’s location.
 3
         b.    A debt collector violates §1692c(a)(3) of the FDCPA by
 4

 5             communicating with a consumer in connection with the
 6
               collection of any debt at the consumer’s place of employment
 7
               if the debt collector knows or has reason to know that the
 8

 9
               consumer’s employer prohibits the consumer from receiving

10             such communication.
11
        c.    Section 1692c(b) of the FDCPA states that except as provided
12
              in section 1692b, without the prior consent of the consumer
13

14            given directly to the debt collector, or the express permission of

15            a court of competent jurisdiction, or as reasonably necessary to
16
              effectuate a post-judgment judicial remedy, a debt collector
17
              may not communicate, in connection with the collection of any
18

19            debt, with any person other than a consumer, his attorney, a

20            consumer reporting agency if otherwise permitted by law, the
21
              creditor, the attorney of the creditor, or the attorney of the debt
22
              collector.
23

24      d.    Here, Defendant violated §§ 1692c(a)(1), 1692c(a)(3) and
25
              1692c(b) of the FDCPA by disclosing debt information to

                                    -7-

                           PLAINTIFF’S COMPLAINT
            Case 3:14-cv-00737-MPS Document 1 Filed 05/22/14 Page 8 of 13



 1                    Plaintiff’s neighbors, without Plaintiff’s consent, and calling
 2
                      her while she was at work, despite knowing that she was not
 3
                      allowed to receive personal calls at work.
 4

 5                                      COUNT II
 6
          36.    Defendant’s conduct, as detailed in the preceding paragraphs,
 7
     violated 15 U.S.C. §§ 1692d and 1692d(5).
 8

 9
                 a.    Section 1692d of the FDCPA prohibits a debt collector from

10                     engaging in conduct the natural consequence of which is to
11
                       harass, oppress, or abuse any person in connection with the
12
                       collection of a debt.
13

14               b.    Section 1692d(5) of the FDCPA prohibits debt collectors from

15                     causing a telephone to ring or engaging any person in
16
                       telephone conversation repeatedly or continuously with the
17
                       intent to annoy, abuse, or harass any person at the called
18

19                     number.

20               c.    Here, Defendant violated §§ 1692d and 1692d(5) of the
21
                       FDCPA by continuously calling Plaintiff, at least once a day,
22
                       on her home and cellular telephones, as well as calling her
23

24                     immediately back after she hung up on them, with the intent to
25
                       annoy, abuse and harass Plaintiff, and when it engaged in other

                                               -8-

                                  PLAINTIFF’S COMPLAINT
            Case 3:14-cv-00737-MPS Document 1 Filed 05/22/14 Page 9 of 13



 1                     harassing and oppressive conduct.
 2
                                         COUNT III
 3
          37.    Defendant’s conduct, as detailed in the preceding paragraphs,
 4

 5   violated 15 U.S.C. §§ 1692e, 1692e(2)(A), 1692e(4), 1692e(8) and 1692e(10).
 6
                 a.    A debt collector violates § 1692e of the FDCPA by using false,
 7
                       deceptive    or   misleading   representations       or   means   in
 8

 9
                       connection with the collection of any debt.

10               b.    A debt collector violates § 1692e(2)(A) of the FDCPA by
11
                       falsely representing the character, amount or legal status of any
12
                       debt.
13

14               c.    A debt collector violates § 1692e(4) of the FDCPA by

15                     representing or implicating that nonpayment of any debt will
16
                       result in the arrest or imprisonment of any person or the
17
                       seizure, garnishment, attachment, or sale of any property or
18

19                     wages of any person unless such action is lawful and the debt

20                     collector or creditor intends to take such action.
21
                 d.    A debt collector violates § 1692e(8) of the FDCPA by
22
                       threatening to communicate to any person credit information
23

24                     which is known or which should be known to be false,
25
                       including the failure to communicate that a disputed debt is

                                            -9-

                                   PLAINTIFF’S COMPLAINT
            Case 3:14-cv-00737-MPS Document 1 Filed 05/22/14 Page 10 of 13



 1                     disputed.
 2
                 e.    Section 1692e(10) of the FDCPA prohibits debt collectors
 3
                       from using any false representations or deceptive means to
 4

 5                     collect or attempt to collect any debt or to obtain information
 6
                       concerning a consumer.
 7
                 f.    Here, Defendant violated §§ 1692e, 1692e(2)(A), 1692e(4),
 8

 9
                       1692e(8) and 1692e(10) of the FDCPA by falsely representing

10                     that Plaintiff owed a debt, when she did not; threatening to
11
                       garnish her wages and bank account, when it did not intend to
12
                       take the threatened actions and did not have the legal authority
13

14                     to take the threatened actions; and failing to communicate to

15                     the credit reporting bureaus that the debt was disputed.
16
                                       COUNT IV
17
           38.   Defendant’s conduct, as detailed in the preceding paragraphs,
18

19   violated 15 U.S.C. §§ 1692f and 1692f(1).

20               a.    Section 1692f prohibits debt collectors from using any unfair
21
                       or unconscionable means to collect or attempt to collect a debt.
22
                 b.    A debt collector violates §1692f(1) of the FDCPA by
23

24                     collecting an amount (including any interest, fee, charge, or
25
                       expense incidental to the principal obligation) unless such

                                           - 10 -

                                   PLAINTIFF’S COMPLAINT
            Case 3:14-cv-00737-MPS Document 1 Filed 05/22/14 Page 11 of 13



 1                     amount is expressly authorized by the agreement creating the
 2
                       debt or permitted by law.
 3
                 c.    Defendant violated §§ 1692f and 1692f(1) when it failed to
 4

 5                     investigate Plaintiff’s dispute of the debt, when it failed to
 6
                       update its records to stop the calls to Plaintiff’s cellular
 7
                       telephone while she was at work, and when it sought to collect
 8

 9
                       an amount not permitted by the agreement.

10                                      COUNT V
11
           39.   Defendant’s conduct, as detailed in the preceding paragraphs,
12
     violated 15 U.S.C. § 1692g(b).
13

14               a.    A debt collector violates §1692g(b) of the FDCPA by failing

15                     to cease collection of the debt, where the consumer notifies it
16
                       in writing within the 30-day period that the debt, or any
17
                       portion thereof, is disputed, or that the consumer requests the
18

19                     name and address of the original creditor, until it obtains

20                     verification of the debt or a copy of a judgment, or the name
21
                       and address of the original creditor, and such information is
22
                       mailed to the consumer.
23

24               b.    Here, Defendant violated § 1692g(b) of the FDCPA by failing
25
                       to cease collection of the debt after it received a written request

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                                  PLAINTIFF’S COMPLAINT
             Case 3:14-cv-00737-MPS Document 1 Filed 05/22/14 Page 12 of 13



 1                         for verification from Plaintiff and not providing verification of
 2
                           the debt to Plaintiff.
 3
            WHEREFORE, Plaintiff, CAROL L. OLIWA, respectfully prays for a
 4

 5   judgment as follows:
 6
                   a.      Statutory damages of $1,000.00 for the violation of the
 7
                           FDCPA pursuant to 15 U.S.C. § 1692k(a)(2)(A);’
 8

 9
                   b.      All actual damages suffered pursuant to 15 U.S.C. §

10                         1692k(a)(1);
11
                   c.      All reasonable attorneys’ fees, witness fees, court costs and
12
                           other litigation costs incurred by Plaintiff pursuant to 15
13

14                         U.S.C. § 1693k(a)(3); and

15                 d.      Any other relief deemed appropriate by this Honorable Court.
16

17
                                DEMAND FOR JURY TRIAL
18

19          PLEASE TAKE NOTICE that Plaintiff, CAROL L. OLIWA, demands a

20   jury trial in this case.
21

22

23

24

25



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                                       PLAINTIFF’S COMPLAINT
           Case 3:14-cv-00737-MPS Document 1 Filed 05/22/14 Page 13 of 13



 1                                     RESPECTFULLY SUBMITTED,
 2
                                       CAROL L. OLIWA,
 3                                     By her Attorney,
 4
                                       /s/ Angela K. Troccoli
 5                                     ____________________
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 6
                                       Kimmel & Silverman, PC
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10                                     atroccoli@creditlaw.com
11

12

13   Dated: May 14, 2014
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                                       - 13 -

                               PLAINTIFF’S COMPLAINT
